                 Case 1:23-cr-00748-KWR Document 119 Filed 01/08/24 Page 1Rev.
                                                                           ofAugust
                                                                               1 29, 2022
                                                 PLEA MINUTE SHEET
                                    IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

CR 23-748 KWR                                                         UNITED STATES vs. Trujillo
                      Before The Honorable Kirtan Khalsa, United States Magistrate Judge
Hearing Date:   1/8/2024                                       Time In and Out:          2:18-3:26

Clerk:          E. Hernandez                                   Digital Recording:        ABQ-Rio Grande

Defendant:      Jose Louise Trujillo                           Defendant’s Counsel:      John Anderson

AUSA:           Jeremy Pena, Ryan Crosswell and                Interpreter:              N/A                                Sworn
                Patrick Cordova
                                                                                                                            Waived

     Defendant Sworn                                                  First Appearance

     Consent to proceed before a magistrate judge executed with full knowledge of meaning and effect.

     Deft acknowledges receipt of:     Indictment and Information

     If Deft proceeding by way of information, Deft acknowledges right to an indictment and waives that right.

     Terms and conditions of proposed plea agreement               Defendant indicates understanding of its terms.
     explained.

     Factual predicate to sustain the plea provided.

     Deft questioned re Deft’s age, education, physical/mental condition, and whether under the influence of alcohol, drugs, or
     any medication. Deft advised of charge(s), penalties and possible consequences of the plea.

     Deft advised of constitutional rights, loss of rights, and maximum possible penalties (including imprisonment, fine,
     supervised release, probation, SPA, restitution, and any forfeitures).

     Deft questioned re time to consult with attorney and if satisfied with his or her representation.

     Court finds Deft fully understands charge(s) and the consequences of entering a guilty plea to that charge (or those charges).

     Deft pleads GUILTY to: Indictment              Count 1, 5 and 9 and Information

     Allocution by Deft on elements of charge(s).

     Court finds plea freely, voluntarily, and intelligently made; plea of guilty accepted.

     Deft adjudged guilty.

     Acceptance of plea agreement deferred until final disposition hearing by district judge.

     Sentencing Date: to be notified

     Defendant to Remain in Custody

     Present conditions of release continued                          Conditions changed to:

     Penalty for failure to appear explained

     Presentence Report Ordered                                       Expedited (Type III)

     Other Matters:
